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7
8
                                  IN THE UNITED STATES DISTRICT COURT
9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   No. CR-06-0450- LKK
                                                    )
12                         Plaintiff,               )   ORDER SCHEDULING A HEARING FOR
                                                    )   JANUARY 10, 2007 AT 2:00
13          v.                                      )
                                                    )
14   DIALLO SIMS                                    )
     DONNA LAVETTA WILSON                           )
15                                                  )
                           Defendants.              )
16                                                  )
     _______________________________
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18          For the reasons set forth in the defendant’s Motion for Release and for Detention Hearing filed on
19   January 4, 2007, IT IS HEREBY ORDERED that the matter be set for a hearing on January 10, 2007, at
20   2:00 p.m.
21
22   Dated: 1/5/07                                       /s/ Gregory G. Hollows
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23                                                       GREGORY G. HOLLOWS
                                                         UNITED STATES MAGISTRATE JUDGE
24
     wilson.ord
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